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                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   IN RE: MICHAEL J. POLLACK AND                    :
   ELAINE G. POLLACK                                :            CHAPTER 7
                                                    :
   COVENANT BANK                                   :
   Creditor/Movant                                 :
                                                   : No. 17-18146-amc
           vs.                                     :CHAPTER 7
                                                   :
   MICHAEL J. POLLACK                              : HEARING SCHEDULED FOR
   AND                                             : JANUARY 31, 2018 AT 11:00 A.M.
   ELAINE G. POLLACK                               : COURTROOM 5
        Debtors                                    :
                                                   : UNITED STATES
           and                                     : BANKRUPTCY COURT
                                                   : 900 MARKET STREET
   GARY F. SEITZ                                   : SUITE 400
         Trustee                                   :PHILADELPHIA, PA 19107

                        NOTICE OF MOTION, RESPONSE DEADLINE
                                  AND HEARING DATE

           Covenant Bank has filed a Motion for Relief from the Automatic Stay under 11
   U.S.C. §362(d) with the Court to terminate the automatic stay as to Covenant Bank with
   respect to the Debtors’ real property located at 2089 N. Line Street, Lansdale, PA 19446
   as permitted by the Mortgage on the above referenced real property, other applicable laws
   with respect to the Debtors’ real property and to grant such other further relief as this
   Court may deem just and proper.

          Your rights may be affected. You should read these papers carefully and
   discuss them with your attorney, if you have one in this bankruptcy case. (If you do
   not have an attorney, you may wish to consult an attorney.)

      1.         If you do not want the court to grant the relief sought in the motion or if you
                 want the court to consider your views on the motion, then by January 29,
                 2018 you or your attorney must do all of the following:

                 a. file an answer explaining your position at:

                                    Clerk of the U.S. Bankruptcy Court
                                    UNITED STATES BANKRUPTCY COURT
                                    900 Market Street, Suite 400
                                    Philadelphia, PA 19107



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   If you mail your answer to the bankruptcy clerk’s office for filing, you must mail it early
   enough so that it will be received on or before the date stated above, and

              b. mail a copy to the Movant’s attorney:

                                 David Banks, Esquire
                                 Banks & Banks
                                 3038 Church Rd
                                 Lafayette Hill, PA 19444
                                 610-940-3900 (phone)
                                 610-940-0843 (fax)

                             AND

              c. mail a copy to the Trustee:

                                           Gary F. Seitz
                             Gellert Scali Busenkell & Brown LLC
                                       The Curtis Center
                                       601 Walnut Street
                                         Suite 750 West
                                     Philadelphia, PA 19106

      2.      If you or your attorney do not take the steps described in paragraphs 1(a) and
              (b) above and attend the hearing, the court may enter an order granting the
              relief requested in the motion.

      3.      A hearing on the motion is scheduled to be held before the Hon. Judge Ashely
              M. Chan on January 31, 2018 at 11:00 A.M. in Courtroom 5 at the United
              States Bankruptcy Court, 900 Market Street, Suite 400, Philadelphia, PA
              19107.

      4.      If a copy of the motion is not enclosed, a copy of the motion will be provided
              to you if you request a copy from the attorney named in paragraph 1(b).

      5.      You may contact the Bankruptcy Clerk’s office at (215) 408-2830 to find out
              whether the hearing has been canceled because no one filed an answer.


                                                               David Banks /s/
                                                        By: ______________________
                                                            David Banks, Esquire
                                                            Attorney for Movant




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   ELAINE G. POLLACK                            :            CHAPTER 7
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          vs.                                  :CHAPTER 7
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   AND                                         : JANUARY 31, 2018 AT 11:00 A.M.
   ELAINE G. POLLACK                           : COURTROOM 5
        Debtors                                :
                                               : UNITED STATES
          and                                  : BANKRUPTCY COURT
                                               : 900 MARKET STREET
   GARY F. SEITZ                               : SUITE 400
         Trustee                               :PHILADELPHIA, PA 19107

                                           ORDER

           AND NOW, this _____ day of __________________, 2018 upon consideration of
   the Motion filed by the Movant/Creditor, Covenant Bank, for Relief from the Automatic
   Stay, and other Relief, it is ORDERED AND DECREED that:

           The Automatic Stay of all proceedings, as provided under Section 362 of the
   Bankruptcy Reform Act of 1979 (as amended (The Code), 11 U.S.C.§ 362, is modified as
   to allow Movant to proceed with a foreclosure action and Sheriff’s Sale against the
   Debtors’ real property located at 2089 N. Line Street, Lansdale, PA 19446.

          The purchaser of said property at Sheriff’s Sale (or purchaser’s assignee) may
   take any legal action for enforcement of its right to possession of said premises.

          a) The relief granted by this ORDER shall survive the conversion of this
             bankruptcy case to a case under any other Chapter of the Bankruptcy Code.
          b) The relief granted by this ORDER shall be effective immediately and shall not
             be subject to the ten day period set forth in Bankruptcy Rule 4001(a)(3).

                                                              FOR THE COURT:

                                                              ______________________
                                                              Ashely M. Chan
                                                              United States Bankruptcy
                                                              Judge


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                  IN THE UNITED STATES BANKRUPTCY COURT
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   AND                                         : JANUARY 31, 2018 AT 11:00 A.M.
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        Debtors                                :
                                               : UNITED STATES
          and                                  : BANKRUPTCY COURT
                                               : 900 MARKET STREET
   GARY F. SEITZ                               : SUITE 400
         Trustee                               :PHILADELPHIA, PA 19107

   HEARING DATE:                        January 31, 2018

   TIME OF HEARING:                     11:00 A.M.

   LOCATION OF HEARING:                 Courtroom 5
                                        United States Bankruptcy Court
                                        900 Market Street, Suite 400
                                        Philadelphia, PA 19107

                MOTION OF COVENANT BANK FOR RELIEF
          FROM THE AUTOMATIC STAY PURSUANT TO 11 U.S.C. §362(d)

          Movant, Covenant Bank by and through its attorneys, Banks & Banks, hereby

   moves this Honorable Court for an Order pursuant to 11 U.S.C. §362(d) granting

   Covenant Bank relief from the automatic stay and in support thereof avers as follows:

          1.)    Movant, Covenant Bank (“Movant” or “Covenant Bank”), is a state

   chartered bank that maintains an address at 182 N. Main Street, Doylestown, Pa 18901.

          2.)    On or about December 4, 2017, the Debtors filed a voluntary petition

   under Chapter 7 of Title 11 of the United States Code.


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          3.)     On or about September 14, 2010, Covenant Bank granted to Enviroptics,

   Inc. (“Enviroptics”) a line of credit (“Line of Credit”) in the principal amount of

   $600,000.00. A true and correct copy of the September 14, 2010 Promissory Note

   (“Note”) signed by Enviroptics in favor of Covenant Bank evidencing the Line of Credit

   is attached hereto as Exhibit “A.”

          4.)     At all relevant times, Enviroptics was owned and operated by Debtors.

          5.)     The Note provided for monthly interest payments based on the outstanding

   principal balance commencing November 1, 2010 and continuing on the first day of each

   consecutive month thereafter.

          6.)     The Note further provided that the principal balance was due in full upon

   demand by Covenant Bank.

          7.)      As security for payment of the Note, on or about September 14, 2010,

   Debtors executed and delivered Guaranty Agreements to Covenant Bank. True and

   correct copies of the Guaranty Agreements executed by Michael Pollack (“Michael

   Guaranty”) and Elaine Pollack (“Elaine Guaranty”) are attached hereto as Exhibits “B”

   and “C.”

          8.)     As collateral for the Elaine Guaranty and Michael Guaranty, the

   Defendants executed and delivered to Plaintiff an Open-End Commercial Mortgage for

   Residential Property (the “Mortgage”) dated September 14, 2010 and recorded on

   September 23, 2010 with the Montgomery County, Pennsylvania Recorder of Deeds in

   Mortgage Book 12914, pages 02972 to 02989. A true and correct copy of the Mortgage is

   attached hereto as Exhibit "D.”




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          9.)     The Mortgage secures the following real property: 2089 N. Line Street,

   Lansdale, PA 19446 (the “Mortgaged Premises”). A true and correct copy of the legal

   description of the Mortgaged Premises is incorporated herein and attached hereto as

   Exhibit “E.”

          10.)    Debtors are in Default of the Note, Elaine Guaranty and Michael Guaranty

   for, among other reasons, failing to make the May 15, 2017 interest payment and all

   payments thereafter.

          11.)    On or about September 15, 2017, Covenant Bank demanded that the Note

   be immediately paid in full.

          12.)    In further default of the Note, Debtors have failed to pay off the balance

   owed on the Note.

          13.)    To date, Covenant Bank is owed in excess of $544,051.49 with respect to

   the Note.

          14.)    On or about October 9, 2017, Covenant Bank served Debtors with

   Foreclosure Notices pursuant to Act 6/91.

          15.)    There is no equity in the Mortgaged premises.

          16.)    Covenant Bank is not adequately protected and therefore entitled to relief

   from the automatic stay for cause.

          17.)    The other Respondent is the Standing Trustee appointed in the present

   Chapter 7 proceeding.




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          WHEREFORE, Covenant Bank respectfully requests that this Court enter an

   Order modifying The Automatic Stay of all proceedings, as provided under Section 362

   of the Bankruptcy Reform Act of 1979 (as amended (The Code), 11 U.S.C. § 362, and

   allow it to proceed with a foreclosure action and Sheriff’s Sale against the Debtors’ real

   property located at 2089 N. Line Street, Lansdale, PA 19446.




                                                    BY: /s/ David Banks
                                                        David Banks, Esquire
                                                        Attorney for Covenant Bank




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        Debtors                                 :
                                                : UNITED STATES
          and                                   : BANKRUPTCY COURT
                                                : 900 MARKET STREET
   GARY F. SEITZ                                : SUITE 400
         Trustee                                :PHILADELPHIA, PA 19107

                               CERTIFICATE OF SERVICE

          I, David Banks, Esquire, hereby certify that on the said date, I did mail a true and
   correct copy of Covenant Bank's Motion for Relief from Automatic Stay as well as the
   Notice of Motion, Response Deadline and Hearing Date by first class, postage paid, and
   regular mail to:

                     Daniel P. Mudrick                    Gary F. Seitz
                   Mudrick & Zucker, P.C.           Gellert Scali Busenkell &
                   One West First Avenue                  Brown LLC
                         Suite 101                     The Curtis Center
                  Conshohocken, PA 19428               601 Walnut Street
                                                         Suite 750 West
                                                    Philadelphia, PA 19106


   DATE: 01/09/2017                             BY:      /s/ David Banks
                                                         David Banks, Esquire
                                                         Attorney for Covenant Bank




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